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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE



 BIODELIVERY SCIENCES
 INTERNATIONAL, INC. and ARIUS TWO,
 INC.,

        Plaintiffs/Counterclaim Defendants,

        v.                                       C.A. No. 19-444-CFC

 CHEMO RESEARCH S.L., INSUD
 PHARMA S.L., INTELGENX CORP., and
 INTELGENX TECHNOLOGIES CORP.,

        Defendants/Counterclaim Plaintiffs.


       CORPORATE DISCLOSURE STATEMENT OF INTELGENX CORP. AND
                   INTELGENX TECHNOLOGIES CORP.

          Pursuant to Rule 7.1 of the Federal Rule of Civil Procedure, Defendants IntelGenx

  Corp. and IntelGenx Technologies Corp. certify the following:

         1. IntelGenx Technologies Corp. has no parent corporation and no publicly held

             corporation owns 10% or more of its stock; and

         2. IntelGenx Corp. is directly and indirectly wholly owned by IntelGenx Technologies

             Corp.
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 Dated: April 19, 2019                          YOUNG CONAWAY STARGATT &
                                                TAYLOR, LLP
 Of Counsel

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 Plaintiffs IntelGenx Corp. and IntelGenx
 Technologies Corp.




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                                   CERTIFICATE OF SERVICE


          I, Samantha G. Wilson, hereby certify that on April 19, 2019, I caused to be

 electronically filed a true and correct copy of the foregoing document with the Clerk of the Court

 using CM/ECF, which will send notification that such filing is available for viewing and

 downloading to the following counsel of record:

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                                Attorneys for Plaintiffs/Counterclaim Defendants

          I further certify that on April 19, 2019, I caused the foregoing document to be served via

 electronic mail upon the above-listed counsel.

 Dated: April 19, 2019                                 YOUNG CONAWAY STARGATT &
                                                       TAYLOR, LLP

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